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                                                                             f(SPACE BELOW FOR FILING STAMP ONLY)

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 4

 5

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 9                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                      ******
11
     UNITED STATES OF AMERICA,                              Case No.: 1:15-CR-00288-LJO-SKO
12
                       Plaintiff,                           EX PARTE APPLICATION FOR ORDER
13                                                          TO MODIFY TERMS OF DEFENDANT’S
             v.                                             PRETRIAL RELEASE; DECLARATION
14                                                          OF ROGER D. WILSON; ORDER.
15   RAMIRO SALAS MUNOZ,

16                     Defendant.

17
             Defendant RAMIRO SALAS MUNOZ by and through his counsel, ROGER D.
18
     WILSON, applies Ex Parte to the Court for an order modifying the terms of his pretrial release.
19
             This application is based on the attached Declaration of Roger Wilson and upon the
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     records on file in the instant action.
21
             Respectfully submitted,
22
      Dated:       July 19, 2019             By:                /s/ Roger D. Wilson
23                                                                  ROGER D. WILSON
                                                     Attorney for Defendant RAMIRO SALAS MUNOZ
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               EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; PROPOSED ORDER.               1
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 1                              DECLARATION OF ROGER D. WILSON

 2             I, Roger D. Wilson, declare as follows:

 3             1.     I am an attorney at law licensed to practice in the State of California and the

 4   United States District Court for the Eastern District of California, and am counsel of record for

 5   Defendant RAMIRO SALAS MUNOZ in the above-referenced case.

 6             2.     On January 14, 2016, Mr. Munoz was arrested and subsequently charged by

 7   Indictment with violations of 21 USC §§ 846, 841(a)(1) and 841(b)(1)(A) [Count One], and 21

 8   USC §§ 841(a)(1) and 841(b)(1)(A) [Count Three]. Mr. Munoz appeared before the Magistrate

 9   Judge Stanley A. Boone, and was detained pending a detention hearing.
10             3.     On January 20, 2016, Mr. Munoz appeared before Magistrate Judge Barbara A.

11   McAuliffe for a detention hearing and was ordered detained.

12             4.     On November 14, 2016, Mr. Munoz was ordered released to the Teen Challenge

13   Program, a one-year in-patient drug rehabilitation program located at 42675 Road 44, Reedley,

14   California 93654, under the strict conditions imposed by the United States Pretrial Services

15   Office.

16             5.     On November 21, 2016, Mr. Munoz executed the terms and conditions of his

17   pretrial release.

18             6.     On information and belief, Mr. Munoz has complied with all terms and

19   conditions of his pretrial release.

20             7.     Mr. Munoz completed the one-year in-patient drug rehabilitation program as

21   well as the 4-month “apprenticeship” program at Teen Challenge.

22             8.     Mr. Munoz is presently employed by Teen Challenge in Reedley as an

23   instructor/counselor.

24             9.    On July 18, 2019, Pretrial Services Officer Jessica McConville contacted me and

25   requested a modification to Mr. Munoz’s pretrial release conditions to direct Mr. Munoz to

26   refrain from any use of alcohol, or any use of a narcotic drug or other controlled substance
27   without a prescription by a licensed medical practitioner, and to notify Pretrial Services

28   immediately of any prescribed medication(s).


                EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; PROPOSED ORDER.         2
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 1             10.   Therefore, Mr. Munoz requests that the Court modify the term of his pretrial

 2   release identified as Condition (7)(j) as follows:

 3             Current language:

 4             “Refrain from excessive use of alcohol or any use of a narcotic drug or other
               controlled substance without a prescription by a licensed medical practitioner;
 5
               and you must notify Pretrial Services immediately of any prescribed
 6             medication(s). However, medicinal marijuana prescribed and/or recommended
               may not be used.”
 7
               Requested modified language:
 8
               “Refrain from any use of alcohol, or any use of a narcotic drug or other
 9             controlled substance without a prescription by a licensed medical practitioner;
10             and you must notify Pretrial Services immediately of any prescribed
               medication(s). However, medicinal marijuana prescribed and/or recommended
11             may not be used.”

12
               11.   Mr. Munoz has no objection to the requested modification.
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               12.   On July 19, 2019, I communicated with Assistant United States Attorney
14
     (AUSA) Kathleen Servatius about the proposed modification. AUSA Servatius replied to me
15
     that the Government has no objection to the request.
16
               13.   Therefore, Mr. Munoz respectfully requests that the Court grants his request and
17
     modify the term of his pretrial release as explained in Paragraph 10, above.
18
               14.    All other terms and conditions of pretrial release are to remain in full force and
19
     effect.
20
               I declare under penalty of perjury that the foregoing is true and correct.
21
               Executed July 19, 2019, in Fresno, California.
22
                                                              /s/ Roger D. Wilson
23                                                                ROGER D. WILSON
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                EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; PROPOSED ORDER.         3
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 1                                               ORDER

 2          This matter, having come before the Court on Defendant RAMIRO SALAS MUNOZ’s

 3   Ex Parte application to modify the terms and conditions of his pretrial release, and for good

 4   cause shown, IT IS HEREBY ORDERED:

 5          Condition (7)(j) of the Order Setting Conditions of Release is modified as follows:

 6          “Refrain from any use of alcohol, or any use of a narcotic drug or other
            controlled substance without a prescription by a licensed medical practitioner;
 7
            and you must notify Pretrial Services immediately of any prescribed
 8          medication(s). However, medicinal marijuana prescribed and/or recommended
            may not be used.”
 9
10
     IT IS SO ORDERED.
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12      Dated:     July 19, 2019                           /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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              EX PARTE APPLICATION TO MODIFY TERMS OF PRETRIAL RELEASE; PROPOSED ORDER.        4
